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                            UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

   IN RE:                                                   Case No. 20-11161-TMD
                                                            Chapter 11
   ALLAN L. REAGAN,

         DEBTOR.
   _____________________________/

             COMERICA BANK’S BRIEF REGARDING CONFIRMATION ISSUES

            Comerica Bank files this Brief Regarding Confirmation Issues as follows:

            1.     On October 22, 2020 (“Petition Date”), Allan L. Reagan (“Debtor”) filed a

  voluntary petition for relief under Chapter 11 of the United States Bankruptcy Code, 11 U.S.C. §

  101, et seq. (as amended, “Bankruptcy Code”).

            2.     On January 29, 2021, Debtor filed his Proposed Plan of Reorganization (“Plan”).

  Doc. No. 54.

            3.     On March 9, 2021, Debtor filed his First Amended Proposed Plan of

  Reorganization (“Amended Plan”). Doc. No. 89.

            4.     On March 15, 2021, Comerica Bank filed an Objection to the Amended Plan. Doc.

  No. 95.

            5.     On April 12, 2021, the Court held a status conference with respect to confirmation

  of the Amended Plan and set forth a scheduling order that allowed for further briefing regarding

  confirmation issues.

            6.     To avoid duplicative arguments and for judicial efficiency, Comerica Bank adopts,

  restates, and incorporates by reference the Response to Debtor’s Brief Regarding Confirmation

  Issues filed by the Subchapter V Trustee. See Doc. No. 141.




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         7.      Section 10.03 of the Plan states, “[t]he Debtor reserves the right to begin or continue

  any adversary proceedings permitted under Title 11, United States Code and the applicable Federal

  Rules of Bankruptcy Procedure.” See Doc. No. 54.

         8.      The Amended Plan modifies Section 10.03, in redlined format, to read as follows:

                 “10.03. Adversary Proceedings and Retained Claims: The Debtor reserves
                 the right to begin or continue any adversary proceedings permitted under
                 Title 11, United States Code and the applicable Federal Rules of Bankruptcy
                 Procedure. Debtor reserves all claims against any party, including but not
                 limited to preference actions under Section 547 of the Bankruptcy Code,
                 fraudulent conveyance claims under Section 548 of the Bankruptcy Code
                 and applicable state law (including Uniform Fraudulent Conveyance Act
                 claims), setoff and recoupment rights, and federal and state law causes of
                 action.”

  See Doc. No. 90 – Notice of Filing of Redlined Amended Proposed Plan of Reorganization.

         9.      While the Amended Plan reserves all claims (including avoidance actions) that

  Debtor may have against any party, it fails to provide any detail on what claims or causes of action

  may exist, the potential recoveries, and how those amounts, if recovered, will be distributed.

         10.     Further, Debtor’s projected income and liquidation analysis also fail to account for

  any recovery from the potential claims or causes of action reserved by Debtor, which, without

  further detail, is inconsistent with Debtor’s reservation of such claims and causes of action in the

  Amended Plan.

         11.     As such, Debtor, as the Amended Plan proponent, has failed to meet his burden of

  proof and the proposed Amended Plan cannot be confirmed as proposed.




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                                      RELIEF REQUESTED

         Comerica Bank requests that its objections be sustained and that confirmation of Debtor’s

  First Amended Plan of Reorganization be denied.

                                               BODMAN PLC

                                               By: /s/ Robert J. Diehl, Jr.
                                                       Robert J. Diehl, Jr. (P31264)
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  Dated: April 28, 2021




                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing document has been served
  upon all parties that are registered or otherwise entitled to receive electronic notice through the
  Court’s ECF system on April 28, 2021.


                                                              /s/ Robert J. Diehl, Jr.
                                                              Robert J. Diehl, Jr. (P31264)




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